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AO 91 (Rev.02109) Criminal Complaint                                                                                 FILED
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                                                       District of New Mexico
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                  United States of America
                                                                                                           MITCHE-LL R.
                                                                                                                        ELFERS
                               v.                                                               ..               CLERK

                                                                                        )n^J AS\
                   Charles Brent JUSTICE                                  caseNo.


                           De/bndant


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date       of   0210712020 in the county   of      Bernalillg        in the                       District of
    New     Mexico   , the defendant violated           26118            u. s. c.   $   5861(d) / e22(t)
, an offense described  as follows:

26 U.S.C.5861(d) Possession of an unregistered NFAweapon (silencer)
18 USC 922(l) UnlaMul lmportation of a Firearm




         This criminal complaint is based on these facts:
See Attached




        d   Continued on the attached sheet.


                                                                                              l/KurVA*
                                                                                              Complainant's signature

                                                                                    Nathan Kempton, SpecialAgent, ATF
                                                                                               Printed name and title

Sworn before me by reasonable electronic means.



Date:             03116t2020



City and state:                 Albuquerque, New Mexico                     Steve Yarbrough. United States Magistrate Judge
                                                                                               Printed name and title
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L    Nathan Kempton, a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms,
     and Explosives (ATF), being duly swom, deposes and states:

2.   I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives
     (ATF). I have been employed with ATF since November of 2016 and have been a law
     enforcement officer since June of 2005. I am an investigative, or law enforcement
     officer of the United States within the meaning of Title 18, United States Code, Section
     2510 (7), in that I am an officer of the United States who is empowered by law to
     conduct investigations and make arrests for the offenses enumerated in Title 18,21, and
     26,United States Code.

3. Through     the ATF, I have received specialized training in the enforcement of federal
     firearms, explosives, and arson laws. My training as an ATF Special Agent, along with
     my prior experience as a law enforcement officer has involved, among other things: (1)
     the debriefing of defendants, witnesses and informants, as well as others who have
     knowledge of the purchase, possession, distribution, and transportation of firearms and
     of the laundering and concealment of proceeds of firearms and drug trafficking; (2)
     surveillance; (3) analysis and processing of documentary, electronic, and physical
     evidence; (4) the legal and illegal purchase of firearms; (5) the execution of arrest and
     search warrants seeking firearms, narcotics, and DNA.


4.   As a Special Agent with the ATF and a law enforcement officer, I have conducted
     physical surveillance, interviewed sources of information and defendants, served search
     warrants and arrest warrants, investigated firearms and drug trafficking. Further, I have
     testified in judicial proceedings in federal court involving prosecutions relating to
     violations of federal firearms laws.

5. This affidavit is intended to show only that there is sufficient probablecause for the
     requested warrant and does not set forth all of my knowledge about this matter.
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                                  PROBABLE CAUSE
6.   On March 13,2020,I met with Special Agent (SA) Nathaniel Sorenson, of the Air Force
     Office of Special Investigations (OSI), regarding Charles Brent ruSTICE, who was
     arrested for prohibited weapons found to be in his possession, along with other military
     related violations. OSI received information from Homeland Security Investigations
     (HSD that JUSTICE had purchased illegal items from an internet site based in China that
     is known to sell illegal firearm related items. Additionally, OSI was advised that
     Customs Border Protection (CBP) agents intercepted a package addressed to JUSTICE
     at the JFK Mail Center in New York. CBP agents discovered a silencer inside the
     package.

7.   I was notified by OSI regarding the silencer and was asked to assist in determining
     whether ruSTICE possessed a tax stamp issued by ATF, authorizing him to possess and
     transport National Firearms Act (NFA) related items. I determined that ruSTICE did
     not possess a tax stamp, nor had he ever been registered through ATF to possess
     weapons regulated under the NFA.

8.   Additionally, OSI determined that JUSTICE had received shipments of at least two (2)
     other illegal items from Chinese vendors, to include a butt-stock designed to attach to a
     Glock pistol, which would constitute a short-barreled rifle, along with a Glock
     compatible auto-sear, which attaches to Glock pistols, allowing a firearm to function as
     a machine gun. OSI also determined that ruSTICE did not receive permission to store
     firearms at his on-base residence.

9.   Due to the above information, ruSTICE was placed under arrest by OSI. Upon
     arresting ruSTICE, a black Samsung Galaxy phone was discovered on his person. OSI
     agents advised JUSTICE of his Article 31 rights advisement and conducted an interview
     with him. According to an affidavit, ruSTICE told OSI agents that photographs
     depicting items purchased from "wish.com" were stored on his phone

10. Subsequently, OSI conducted a search of JUSTICE's residence, phone and vehicle
     (7608 Silverberry Cir, Albuquerque NM and silver 2014 Ford F-150 - NM Registration
     ACLP76),located on Kirtland Air Force Base (KAFB). The search was based on search
     authority granted by COL David Miller, Commander,3TTth Air Base Wing, KAFB, NM,
     via an AF IMT 1176, Authority to Search and Seize.
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1   1.   During a search of JUSTICE's residence, agents identified seventeen (17) firearms and
         large amounts of ammunition. According to an affidavit provided by SA Sorenson,
         Three (3) firearms silencers, one (1) suspected silencer, one (1) silencer component and
         one (1) butt-stock compatible to convert a Glock pistol into a short barreled rifle, were
         discovered during the search. Additionally, a Glock pistol that is compatible with the
         butt-stock was discovered during the search.

12.      I viewed photographs of the silencers seized by OSI and observed the inside of the
         silencer's chamber. Suppression baffles could be observed inside the chamber, which
         indicates its functionality as a silencer. Further, the silencers each had threaded end so
         they could be attached to the muzzle of a firearm. I also recognized the Glock pistol
         compatible butt-stock, which through my own experience know it is designed to attach
         to the grip of a pistol, which allows it to function as a rifle.

13.      Additionally, OSI spoke with Z.S, who advised agents he had been shooting with
         ruSTICE on February 15,2020. Z.S. disclosed that he had observed a JUSTICE shoot a
         firearm with what he identified as a silencer attached to its muzzle. Z.S. explained to
         agents that the attached silencer muffled the sound as rounds were fired. Z,S. further
         recalled JUSTICE demonstrating how to attach a butt-stock to a Glock pistol, by
         affixing it to the pistol grip.

14.      I recognized one of the silencers and determined it to be an NFA weapon that had
         previously been deemed illegal by the ATF Firearms Technology Criminal Branch
         (FTCB). This specific silencer is sold under the name of an "Inline Filter" with intent to
         disguise it as an automotive part.

15.OSt provided me with photographs, which were extracted from JUSTICE's phone. The
   photographs indicated JUSTICE's involvement with weapons regulated by the NFA, to
   include machine gun components and silencers. I observed numerous photographs that
   depicted how to convert weapon systems to operate as a machine gun. I recognized
   some of the material as schematics for machine guns, to include a diagram for a
   "lightning link," which is designed to quickly install into an ARl5 platform rifle so that
   it functions fully automatic. Other photographs displayed how to use a coat hanger as a
   machine gun.
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16.   It should be noted that ruSTICE possessed photographs that indicated he could pose a
      potential threat to the public. I observed photographs of AR15 compatible magazines
      that had names of individuals written on them in white ink.--Some of the names included
      Alexandre Bissonette, who shot and killed several people at a mosque in Quebec City.
      Also named, was Luca Traini, who conducted a shooting in Italy that targeted African
      migrants. Other photographs contained content related to the Christchurch mosque
      shooting that occurred in New Zealand. Photographs depicting how to make molotov
      cocktail bombs and other explosive related content was also found on JUSTICE's
      phone.

17.   It should also be noted that JUSTICE faced military discipline from a shoplifting
      incident that occurred on September 15,2016 from Sportsman's Warehouse. During
      this incident ruSTICE attempted to steal ammunition and other firearm related items.

18. Based upon these facts,I believe that there is probable cause to believe that Charles
      ruSTICE has committed the crime of 26 U.S.C. 5861(d) Possession of an unregistered
      NFA weapon (silencer) and 18 USC 922(l) Unlawful Importation of a Firearm.




                                              ATF Special Agent

  Swom before me by reasonable electronic means
  on March 16,2020:
